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                  Exhibit 3
             Case 1:21-cv-00184-MW-GRJ Document 31-3 Filed 12/03/21 Page 2 of 3


Reid,Teresa Jean

From:                           Nunn, Kenneth B.
Sent:                           Wednesday, July 1, 2020 10:13 PM
To:                             Stinneford,John; Jacobs,Michelle Veronica; Dowd,Nancy E; Hutchinson,Darren L.;
                                Wright,Danaya C; ADKINS,MARY E; Bornstein,Stephanie; Collier, Charles W; Elizabeth
                                Dale; Drake,Teresa A; Fenster, Mark; Hammond,Andrew; Hernandez,Berta Esperanza;
                                Jackson,Joseph Steven; Jamshidi,Maryam; King,Shani Mahiri; Lear,Elizabeth Tyson;
                                Malavet,Pedro A; McAlister,Merritt Ellen; Timothy McLendon; Noah,Lars; Reid,Teresa
                                Jean; Russell-Brown,Katheryn; Steinberg, Stacey; Wolf,Michael Allan; Wolking,Sarah
                                Horn; Wright,Danaya C; Zedalis,Jennifer Mary
Cc:                             Mills,Jon L
Subject:                        Invitation to Join Amicus Brief in Jones v. DeSantis



Dear Colleagues:

I am inviting you to join an amicus brief on behalf of law professors with expertise in constitutional law, voting
rights law, civil rights law, or criminal procedure in the Jones v. DeSantis case. As you may know, Jones v.
DeSantis is the consolidated case in which the district court allowed former Florida felons to vote under the
policy established by constitutional initiative (Amendment 4). The district court’s opinion is available here. The
ruling is on appeal to the 11th Circuit.

The brief will in support of Judge Hinkle’s order ruling that the state statute restricting the registration of ex-
felons was unconstitutional. The order opens the door for ex-felons to register in accordance with a
constitutional amendment passed by Florida voters in 2018. The brief is being drafted pro bono by lawyers
from Boies Schiller Flexner and Pillsbury Winthrop Shaw Pittman, together with the Boies Public Law Institute.
At present, I do not have a draft of the brief to share. If you agree to participate, you will be provided with a
copy of the brief prior to its filing, although I cannot guarantee any changes will be possible. The brief is due
mid-July, so time is of the essence.

If you are interested, I will need to hear from you by Wednesday, July 8 and preferably sooner.

If you would like to sign, please send me a message of intent at nunn@law.ufl.edu . Please include a brief, no
more than two sentence description of you and your expertise, e.g., “XYZ is professor of law at Your Law
School. XYZ teaches voting rights law and has written extensively about felony disenfranchisement.”

Sorry for any cross posts.

Thanks in advance,

Kenneth B. Nunn
Professor of Law and
University Term Professor (2018-21)
University of Florida
Levin College of Law
P.O. Box 117625
Gainesville, FL 32611

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352-273-0910 (p)
352-392-3005 (f)
https://www.law.ufl.edu/faculty/kenneth-b-nunn




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